                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MISSOURI



SCOTT AND RHONDA BURNETT,              )
RYAN HENDRICKSON, JEROD BREIT, )
SCOTT TRUPIANO, JEREMY KEEL,           )
HOLLEE ELLIS, and FRANCES HARVEY, )
on behalf of themselves and all others )
similarly situated,                    )
                                       )        No: 4:19-cv-00332-SRB
              Plaintiffs,              )
                                       )
v.
                                       )        Judge Stephen R. Bough
THE NATIONAL ASSOCIATION OF            )
REALTORS, REALOGY HOLDINGS             )
CORP., HOMESERVICES OF AMERICA, )
INC., BHH AFFILIATES, LLC, HSF         )
AFFILIATES, LLC, RE/MAX, LLC, and      )
KELLER WILLIAMS REALTY, INC.,          )

             Defendants.

                                  STATUS REPORT

      Defendants HomeServices of America, Inc; BHH Affiliates, LLC; and HSF

Affiliates, LLC (together, the “HomeServices Defendants”) hereby submit the following

Eighth Circuit Status Report pursuant to the Court’s Order at Doc. 916 at 3. The

Appellants’ Brief and Appendix were filed October 19, 2022. The Appellees’ Brief and

Separate Appendix are due to be filed November 18, 2022.



      Dated: October 28, 2022




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                                      Affiliates, LLC, and HSF Affiliates,
                                      LLC




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                            CERTIFICATE OF SERVICE

      I hereby certify that the foregoing was served upon all counsel of record by

virtue of the Court’s CM/ECF system on October 28, 2022.



                                            /s/Matthew T. Ciulla
                          One of HomeServices of America, Inc.’s Attorneys




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